 Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 1 of 15 PageID 1




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                           CASE NO:
MELODEE MICHALARES-OWENS,
PLAINTIFF

Vs.

GREENWOOD OF SC, INC., A Foreign
For Profit Corporation,
DEFENDANT, jointly and severally,
And 800A, LLC, A Florida Limited Liability
Company. DEFENDANT, jointly and severally
and
Unknown Defendant #1 and
Unknown Defendant #2
________________________________/

                        COMPLAINT FOR INJUNCTIVE RELIEF

                      JURISDICTION/VENUE/PARTIES/DEMANDS

      1.   This is an action for injunctive relief pursuant to Title III of the Americans with

           Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 U.S.C. §1331, and 28

           C.F.R. §36.201 (“ADAAG”) to prevent discrimination which includes equal access to

           Defendants’ place of public accommodation.

      2.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has original

           jurisdiction over actions that arise from the Defendant’s violations of Title III of the

           Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. See also 28 U.S.C. §§

           2201 and 2202.

      3.   Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. § 1391

           because it is where the Defendant resides; where the cause of action accrued; and it is

           the situs of the property that is the subject of this action. Assignment to the Tampa

           Division is appropriate pursuant to Rule 1.02 of the Local Rules of the United States
                                                1
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 2 of 15 PageID 2




       District Court, Middle District of Florida, because it is the county having the greatest

       nexus with the action, with due regard to the where the cause of action accrued and

       the situs of the subject property.

 4.    Plaintiff, MELODEE MICHALARES-OWENS, resides in Pinellas County, Florida,

       is sui juris and qualifies as an individual with disabilities as defined by the ADA.

       Plaintiff, as a result of arthritis in critical joints, is unable to engage in the major life

       activity of walking more than a few steps or standing without assistive devices.

       Instead, Plaintiff is bound to ambulate with a cane or other support and has limited

       use of her hands. She is unable to tightly grasp or pinch, or twist her wrist to operate

       turning door hardware or spigots. When ambulating beyond the comfort of her own

       home, Plaintiff must primarily rely on a Rollator or cane. Plaintiff requires accessible

       handicap parking spaces located closest to the entrances of a facility. The handicap

       and access aisles must be of sufficient width so that she can embark and disembark to

       and from her vehicle. Routes connecting the handicap spaces and all features, goods

       and services of a facility must be level, properly sloped, sufficiently wide and without

       cracks, holes or other hazards that can pose a danger of tipping, catching wheels,

       cane, or falling. These areas must be free of obstructions or unsecured carpeting that

       make passage either more difficult or impossible. Amenities must be sufficiently

       lowered so that Plaintiff can reach them or use them as support while writing or using

       card devises. She has difficulty operating turning door knobs, sink faucets, locks or

       other operating mechanisms that require tight grasping, twisting of the wrist or

       pinching. Sinks that have unwrapped pipes pose a danger of scraping or burning her

       legs. She requires grab bars both behind and beside a commode so that she can safely



                                              2
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 3 of 15 PageID 3




       transfer to and from the seat, and she has difficulty reaching the flush control if it is

       on the wrong side. She cannot pass doorways that lack the proper clearance.

 5.    Plaintiff is a consumer who frequents businesses in the Tampa Bay Area.

 6.    When she travels throughout the Tampa Bay area, Plaintiff has and will continue to

       avail herself of public accommodations. Plaintiff’s attorneys, friends and medical

       providers are located in the Tampa Bay area which she frequents often and on a

       constant basis.

 7.    Plaintiff is an advocate of the rights of similarly situated disabled persons and is

       otherwise a “tester” for the purpose of asserting her civil rights and monitoring,

       ensuring, and determining whether places of public accommodation are in

       compliance with the ADA.

 8.    According to the Property Appraiser Record, Defendant 800A, LLC, A Florida

       Limited Liability Company,(“Defendant”) owns or operates a place of public

       accommodation as defined by the ADA and the regulations implementing the ADA,

       28 C.F.R. 36.201(a) and 36.104, located at 800 Clearwater-Largo Road N, Largo,

       Florida 33770.

 9.    Defendant Greenwood of SC, Inc., a Foreign for Profit Company,(“Defendant”)

       conducts and transacts business under the laws of the state of Florida, and otherwise

       operates within the jurisdiction of this Court. Defendant is the owner, lessee, lessor

       or operator of commercial property and improvements, which is a place of public

       accommodation as defined by the ADA and the regulations implementing the ADA,

       28 C.F.R. 36.201(a) and 36.104, commonly known as the SANTA FE MEXICAN




                                             3
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 4 of 15 PageID 4




       GRILL, located at 800 Clearwater-Largo Road N, Largo FL 33770 (hereinafter

       “Restaurant”).

 10.   Defendants GREENWOOD OF SC, INC. AND 800A, LLC, are jointly and severally

       liable.

 11.   Plaintiff has retained undersigned counsel and law firm to commence and prosecute

       this action to stop marginalization of disabled or qualified disabled persons

       committed by Defendant under the ADA. Pursuant to 42 U.S.C. § 12205 and 28

       C.F.R. 36.505, Plaintiff is entitled to immediate temporary and permanent injunctive

       relief to prevent the present, continued, and future discrimination and discriminatory

       practices so evidenced by Defendants and the Restaurant as further described

       hereinafter, reasonable attorney’s fees, costs and litigation expenses.

                                 BACKGROUND

 12.   Defendants’ Restaurant is a place of public accommodation as defined by the ADA

       because it is, or is part of, a place of exhibition, entertainment, sales, rental, or eating

       establishment. The Restaurant allows the general public access to partake of food and

       beverages. As such, the subject Restaurant is a sales establishment, which is a place

       of public accommodation pursuant to 42 U.S.C. §12181 and must comply with the

       ADA. This means it must not discriminate against individuals with disabilities and

       may not deny full and equal enjoyment of the services afforded to the general public

       and the Defendants have subjected themselves to the ADA.

 13.   In    addition   to    Title    III’s   prohibition    of    denial-of-participation,    no

       public accommodations may “afford an individual or class of individuals, on the basis

       of disability … directly, or through contractual licensing, or other arrangements with



                                               4
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 5 of 15 PageID 5




       the opportunity to participate in or benefit from a good, service, facility, privilege,

       advantage, or accommodation that is not equal to that afforded to other

       individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

 14.   The broad mandate of the ADA is to provide an equal opportunity for individuals

       with disabilities to participate in and benefit from all aspects of American civic and

       economic life.    That mandate extends to restaurants, such as the Defendants’

       establishment.

 15.   The ADA is the industry standard adopted by major companies and governmental

       agencies to ensure their establishments are accessible to disabled persons; the

       guidelines are readily achievable. These guidelines are readily available via the

       internet so that a business designing an establishment can easily access the standards

       and provide several basic components to incorporate into the Restaurant so that

       persons with disability may have accessibility.

 16.   Pursuant to Title III, “[n]o individual shall be discriminated against on the basis

       of disability in the full and equal enjoyment of the goods, services, facilities,

       privileges, advantages, or accommodations of any place of public accommodation by

       any person who owns, leases (or leases to), or operated a place of public

       accommodation.” 42 U.S.C. § 12182(a).

 17.   Public accommodations are prohibited from subjecting “an individual or class

       of individuals on the basis of a disability … directly, or through contractual,

       licensing, or other arrangements, to a denial of the opportunity of the individual or

       class to participate in or benefit from the goods, services, facilities, privileges,

       advantages, or accommodations of an entity.” 42 U.S.C. § 12182(b)(1)(A)(i).



                                            5
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 6 of 15 PageID 6




 18.   Defendants are obligated to comply with 42. U.S.C. § 12182(b)(2)(A)(ii), which

       defines discrimination as “a failure to make reasonable modifications in policies,

       practices, or procedures, when such modifications are necessary to afford such goods,

       services, facilities, privileges, advantages, or accommodations to individuals with

       disabilities[.]”


 19.   Separate is not equal and discrimination includes “a failure to take such steps as may

       be necessary to ensure that no individual with a disability is excluded, denied

       services, segregated or otherwise treated differently than other individuals because of

       the      absence        of      auxiliary      aids    and     services[.]”      42   U.S.C.    §

       12182(b)(2)(A)(iii). Defendants’ disparate treatment of persons who are not disabled

       or not qualified disabled, from persons who are disabled or qualified disabled, violate

       Federal law, and such discrimination must cease.

                          COUNT I – INJUNCTIVE RELIEF

 20.   Plaintiff realleges paragraphs 1 through 19 as if fully set forth herein.

 21.   Defendants own and operate, either itself or through third parties, a Restaurant open

       to the general public. The Restaurant allows members of the public to partake of the

       goods,      services,        features,   facilities,   benefits,   advantages,    amenities    and

       accommodations of the Restaurant.

 22.   Defendants failed to comply with ADA criteria in violation of general prohibition

       against discrimination for individuals with disabilities and the specific requirement(s)

       concerning public accommodations including, but not limited to the following

       (Plaintiff anticipates additional ADA violations will be disclosed during the discovery

       process):

                                                     6
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 7 of 15 PageID 7




 a)    insufficient number of handicapped parking spaces;

 b)     parking lot is rough and uneven, posing tripping hazard when using Plaintiff’s

       ambulating device;

 c)    paint marking the handicapped spaces is faded, illegible, or missing, which

       effectively eliminates handicapped parking places;

 d)    parking signage is missing from space, thus preventing the reservation of the space

       for Plaintiff and others similarly situated;

 e)    door knob on main bathroom door requires twisting and turning to operate. Plaintiff

       has arthritis in her hands which prevents her from gripping or twisting the door knob,

       thus impairing her ability to utilize the bathroom;

 f)    handicapped accessible bathroom stall is missing grab bar, thus preventing Plaintiff

       from transferring to and from the toilet seat;

 g)    grab rails are      positioned incorrectly in stall, thus preventing Plaintiff from

       transferring to and from the toilet seat;

 h)    main sink is blocked; pipes under sink are not wrapped with correct insulation, thus

       blocking access to the sink;

 i)    no compliant route from the public access to the Restaurant;

 j)    no compliant seating at the bar area, thus preventing Plaintiff from utilizing the full

       amenities;

 k)    bathroom sink spigots require twisting and turning to operate; Plaintiff has arthritis in

       her hands, thus preventing her from turning the water off and on;

 l)    bathroom mirror is too high which prevents Plaintiff from using the mirror from a

       sitting position;



                                              7
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 8 of 15 PageID 8




 m)    latch on ADA stall requires pinching to manipulate; Plaintiff has arthritis in her

       hands, thus preventing her from grasping the latch to close it properly;

 n)    no complaint seating in the restaurant main floor which limits Plaintiff’s seating when

       using mobility devices;

 o)    Paper towel dispenser is too high to reach from mobility device, and is blocked by

       trash can;

 p)    coat/purse hook on door of handicap stall is too high to reach from mobility device;

 23.   On or about November 18, 2019, Plaintiff patronized the Defendants’ Restaurant and

       encountered the above listed barriers, which impeded her ability to enjoy and partake

       of the amenities in the same manner as an able-bodied person.              See attached

       Composite Exhibit “A”.

 24.   Plaintiff encountered barriers with Defendants’ Restaurant in violation of the ADA as

       set forth above, which inhibited Plaintiff from patronizing Defendants’ establishment

       and has otherwise deterred Plaintiff from being able to use and enjoy Defendants’

       public accommodations in the same manner as non-disabled individuals. The

       inaccessibility of Defendants’ Restaurant has caused Plaintiff undue burden and

       hardship. Alterations to Defendants’ Restaurant are readily achievable. At the time of

       the commencement of this action, the Defendants’ Restaurant lacked complete

       compliance with the ADA.

 25.   Within ninety (90) days from the service of the Complaint, Plaintiff will revisit the

       Restaurant to ensure compliance with the ADA and 28 C.F.R. § 36.302(e) and will

       use the Restaurant and otherwise avail herself of the goods, services, features,




                                            8
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 9 of 15 PageID 9




       facilities, benefits, advantages, amenities, and accommodations at the Restaurant,

       provided the barriers have been removed.

 26.   Plaintiff is continuously aware that the subject Restaurant remains non-compliant and

       that it would be a futile gesture to revisit the Restaurant as long as those violations

       exist unless she is willing to suffer additional discrimination.

 27.   Once Defendant complies with the ADA, Plaintiff will be able to enjoy the

       accommodations that suits her needs in the same manner as able bodied individuals,

       which is the purpose of the ADA.

 28.   The violations present at the Defendants’ Restaurant infringe upon Plaintiff’s right to

       travel free from discrimination.

 29.   Plaintiff continues to desire to patronize the Defendants’ Restaurant, but is unable to

       do so until the barriers are removed, thus will continue to suffer irreparable injury

       from the Defendants’ intentional acts, policies, and practices set forth herein unless

       enjoined by this Honorable Court.

 30.   Plaintiff has suffered and continues to suffer frustration and humiliation as the result

       of the discriminatory conditions at the Defendants’ Restaurant. By continuing to

       operate a Restaurant with discriminatory conditions, Defendants contribute to

       Plaintiff’s sense of isolation and segregation, and deprives the Plaintiff of full and

       equal enjoyment of the goods, services, facilities, privileges and accommodations

       available to the general public. By encountering the discriminatory conditions at

       Defendants’ Restaurant, and knowing it would be futile to return to the Restaurant

       unless she is willing to endure additional discrimination, Plaintiff is deprived of the




                                             9
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 10 of 15 PageID 10




         same advantages, privileges, goods, services, amenities, and benefits readily available

         to the general public.

   31.   By maintaining a Restaurant with ADA violations, Defendants deprive Plaintiff of the

         equality of opportunity offered to the general public.

   32.   The Defendants’ Restaurant did not offer adequate amenities to permit a disabled

         person such as Plaintiff with mobility impairments to use and navigate the Restaurant

         in an effective manner as set out above.

   33.   When Restaurants impose barriers like Defendants’, mobility impaired users, such as

         Plaintiff, are excluded from the content and services available.

   34.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

         of Defendants’ discrimination until the Defendant is compelled to modify its

         Restaurant to comply with the requirements of the ADA and to continually monitor

         and ensure that the subject Restaurant remain in compliance.

   35.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

         the Defendants’ non-compliance with the ADA with respect to the Restaurant and has

         reasonable grounds to believe she will continue to be subjected to discrimination in

         violation of the ADA by the Defendants.

   36.   Because of Defendants’ denial of full and equal access to, enjoyment of,

         and communication with, its goods, services, facilities, privileges, advantages, and

         accommodations, Plaintiff and others similarly situated has suffered, and continues to

         suffer, an injury in fact, which is concrete and particularized, present, actual and a

         direct result of Defendants’ conduct or omission.




                                              10
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 11 of 15 PageID 11




   37.   The Defendants’ have discriminated against the Plaintiff by denying her access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges, amenities,

         advantages and accommodations of the Restaurant.

   38.   The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the ADA

         as requested herein.

   39.   Defendants have discriminated against the Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, amenities, advantages

         and accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181, et seq., and 28 C.F.R. § 36.302(e). Furthermore, the

         Defendants continue to discriminate against the Plaintiff, and all those similarly

         situated, by failing to make reasonable modifications in policies, practices, or

         procedures, when such modifications are necessary to afford all offered goods,

         services, privileges, facilities, amenities, advantages and accommodations to

         individuals with disabilities; and by failing to take such efforts that may be necessary

         to ensure that no individual with a disability is excluded, denied services, segregated

         or otherwise treated differently than other individuals because of the absence of

         auxiliary aids and services.

   40.   Because Plaintiff has no contractual relationship with the Defendants and because she

         is not entitled to damages from Defendants, Plaintiff is without adequate remedy at

         law and is suffering irreparable harm. Plaintiff and others will continue to suffer

         irreparable injury from Defendants’ intentional acts, policies, and practices set forth

         herein unless enjoined by the court. Plaintiff has no plain, adequate, or complete



                                              11
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 12 of 15 PageID 12




         remedy at law to redress the wrongs alleged herein and this suit for and injunctive

         relief is the only means to secure adequate redress from the Defendants’ unlawful and

         discriminatory practices.

   41.   As a result of the inaccessibility of the Defendants’ Restaurant and by the barriers to

         access its Restaurant, the Defendants have denied individuals with disabilities who

         are mobility impaired full and equal enjoyment of the information and services that

         the Defendants have made available to the general public in its Restaurant in

         derogation of 42 U.S.C. sec. 12101 et seq., and as prohibited by 42 U.S.C. sec. 12182

         et. seq.

   42.   The Defendant has violated the ADA (and continues to do so) by denying access to

         its Restaurant to individuals with disabilities who are mobility impaired. These

         violations within the Restaurant are ongoing, and removal of the barriers are readily

         achievable.

   43.   Defendants use standards, criteria or methods of administration that have a

         chilling effect, discriminatory effect, or perpetration of discrimination on the Plaintiff

         and a protected class of citizens.

   44.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

         Plaintiff’s request for injunctive relief, including an order to require the Defendants to

         alter the subject Restaurant to make it readily accessible and useable to the Plaintiff

         and all those other persons with disabilities as defined by the ADA and 28 C.F.R. §

         36.302(e); or by closing the Restaurant until such time as the Defendants cure its

         violations of the ADA.




                                              12
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 13 of 15 PageID 13




   45.      As a result of the Defendants’ inadequate development and administration of the

            Restaurant, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. sec. 12133 to

            remedy the discrimination.

   46.      Pre-suit notice to the Defendants of the Defendants’ violations of ADA is not

            required pursuant to the ADA.

   47.      Any and all conditions precedent to the action have been fulfilled, performed, or

            waived; specifically, on or before December 18, 2019, the undersigned performed a

            diligent search of online public records, and according to those records, the

            Defendants have not registered for remediation nor have been sued for violations

            described herein.

   48.      Pursuant to 42 U.S.C. sec. 12188, this Court is vested with the authority to grant

            Plaintiff injunctive relief; including an Order to:

            a. Require Defendants to remove all readily achievable barriers to comply with the

                ADA, and

            b. Require Defendants to cease and desist discriminatory practices and if necessary

                to cease and desist operations of the Restaurant until the requisite modifications

                are made such that its Restaurant becomes equally accessible to persons with

                disabilities.

         WHEREFORE Plaintiff demands judgment against Defendants and requests the

         following injunctive relief:

         a) The Court enter an Order granting temporary, preliminary and permanent injunction

            prohibiting    Defendants    from    operating    its   Restaurant   without    adequate

            accommodation for the mobility impaired;


                                                  13
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 14 of 15 PageID 14




      b) The Court enter an Order requiring Defendants to update its Restaurant to remove

          barriers in order that the individuals with mobility disabilities can access the

          Restaurant and facilities to the full extent required by the Title III if the ADA;

      c) The Court enter an Order requiring Defendants to clearly display the universal

          disabled logo within its Restaurant, wherein the logo would lead to ADA compliant

          amenities which would state Defendants’ accessibility information, facts, policies,

          and accommodations. Such a clear display of the disabled logo is to ensure that

          individuals who are disabled are aware of the availability of the accessible features of

          Restaurant;

      d) The Court enter an Order requiring Defendants to provide ongoing support for ADA

          accessibility by implementing an ADA accessibility policy, and providing for ADA

          accessibility feedback to ensure compliance thereto;

      e) The Court enter an Order directing Defendants to evaluate its policies, practices, and

          procedures toward persons with disabilities, for such reasonable time so as to allow

          the defendants to undertake and complete corrective procedures to the Restaurant;

      f) The Court award reasonable attorney’s fees, all costs, (including but not limited to

          court costs and expert fees), and other expenses of suit, to the Plaintiff; and

      g) That the Court award such other and further relief as it deems necessary, just and

          proper.




Dated: December 19, 2019
                                     Respectfully submitted,
                                     McDONALD & MINCE, PLLC

                                     __/s/ Melissa Gilkey Mince______________
                                     Melissa GilkeyMince, Esq. / FBN: 546230

                                                14
Case 8:19-cv-03121-WFJ-AEP Document 1 Filed 12/19/19 Page 15 of 15 PageID 15



                             Email: mmince@mcdonaldandmincelaw.com
                             Tel: 727- 488-1988
                             Layla K. McDonald, Esq. / FBN: 11308
                             Email: lmcdonald@mcdonaldandmincelaw.com
                             801 West Bay Drive, Suite 113
                             Largo, Florida 33770
                             Secondary Email: eserve@mcdonaldandmincelaw.com




                                     15
